
PER CURIAM.
This cause is before us on direct appeal from the circuit court in and for Broward County because the trial court upheld the constitutionality of section 775.084, Florida Statutes (1977). The trial court’s ruling upholding the constitutionality of section 775.084 is consistent with our holding in Eutsey v. State, 383 So.2d 219 (Fla.1980). We hold that the constitutional issue is now legally frivolous and therefore transfer the case to the District Court of Appeal, Fourth District, for consideration of the remaining points on appeal.
It is so ordered.
SUNDBERG, C. J., and ADKINS, BOYD, OVERTON, ENGLAND, ALDERMAN and McDONALD, JJ., concur.
